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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

  CHRISTOPHER HOWE, Individually, and               )
  on Behalf of All Others Similarly Situated,       )
                                                    )
                         Plaintiff,                 )   Case No. 1:19-cv-01374
                                                    )
                  v.                                )   Judge Edmond E. Chang
                                                    )
  SPEEDWAY LLC,                                     )
                                                    )
                         Defendant.                 )
                                                    )

                                      JOINT STATUS REPORT

       Pursuant to the Court’s Memorandum Opinion and Order dated September 29, 2024 (Dkt.

188), Plaintiff Christopher Howe, individually and on behalf of the certified class (collectively,

“Plaintiffs”), and Defendant Speedway LLC (“Defendant”), by and through their undersigned

counsel, submit this Joint Status Report and state as follows:

      1.       On October 23, 2024, Plaintiffs sent Defendant a settlement demand.

      2.       On October 25, 2024, Plaintiff’s counsel and Defendant’s counsel had a follow-up

call to discuss the settlement demand, potentially mediating the matter, and the Parties circulated

suggested potential mediators and their current availability.

      3.       At this time, the Parties do not request a referral for a settlement conference with

the Magistrate Judge, but are contemplating private mediation.

      4.       Given that this is an employment matter with class members’ contact information

readily available to Defendant, the Parties contemplate traditional direct notice to the class

informing them of the pending lawsuit. If the Parties reach a proposed settlement and the Court

grants preliminary approval of a settlement, however, the content of the Notice would substantially
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change. Therefore, the Parties request another week to iron out a plan. If the Parties schedule a

mediation, the Parties may request a short stay of this action pending mediation.

      Respectfully submitted this 28th day of October 2024.

 /s/ Andrew C. Ficzko                                /s/ Matthew C. Wolfe
 Ryan F. Stephan                                     Matthew C. Wolfe
 James B. Zouras                                     SHOOK, HARDY & BACON L.L.P.
 Andrew C. Ficzko                                    111 South Wacker Drive
 STEPHAN ZOURAS, LLC                                 Chicago, Illinois 60606
 222 W. Adams Street, Suite 2020                     mwolfe@shb.com
 Chicago, Illinois 60606
 312.233.1550                                        Tristan L. Duncan
 312.233.1560 f                                      SHOOK, HARDY & BACON L.L.P.
 rstephan@stephanzouras.com                          2555 Grand Boulevard
 jzouras@stephanzouras.com                           Kansas City, Missouri 64108
 aficzko@stephanzouras.com                           tlduncan@shb.com

 J. Eli Wade-Scott                                   ATTORNEYS FOR SPEEDWAY LLC
 Edelson PC
 350 North LaSalle Street, 14th Floor
 Chicago, IL 60654
 Telephone: 312-589-6370
 Facsimile: 312-589-6378
 ewadescott@edelson.com
 atievsky@edelson.com


 ATTORNEYS     FOR   PLAINTIFF     AND   CLASS
 MEMBERS




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